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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WAYNE BALIGA, derivatively on behalf of                           Commercial Division
LINK MOTION INC. (F/K/A NQ MOBILE INC.)
                                                                   18 Civ. 11642 (VM)
                              Plaintiff,
               -against-                                           FIRST AMENDED
                                                                   SHAREHOLDER
LINK MOTION INC. (F/K/A NQ MOBILE INC.),                           DERIVATIVE COMPLAINT
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                              Defendants,
               -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                              Nominal Defendant.



       Plaintiff Wayne Baliga (“Mr. Baliga”), by and through his undersigned attorneys,

submits this First Amended Shareholder Derivative Complaint against Link Motion Inc.

(“LKM” or the “Company”), Vincent Wenyong Shi (“Defendant Shi”), Jia Lian (“Defendant

Lian”), and Xiao Yu (“Defendant Yu”) (Defendants Shi, Lian, and Yu together as the

“Individual Defendants”). Mr. Baliga alleges the following based upon information and belief,

except as to those matters concerning Mr. Baliga, which are alleged upon personal knowledge.

Mr. Baliga’s information and belief is based on, among other things, the investigations

conducted by himself and similarly situated shareholders organized under the name

LKMForward, such investigations including, among other things, review and analysis of various

filings both in the U.S and China, as well as communications with the Company’s Board of

Directors (the “Board”) and certain other executives of LKM.
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                                   NATURE OF ACTION

               1.      This is a shareholder derivative action brought for the benefit of LKM and

its shareholders. LKM is a multinational technology company that develops, licenses, supports

and sells software and services that focus on the smart car and smart ride businesses. LKM’s

portfolio of offerings includes enabling technology solutions and secure connected carputers for

the ecosystem of car businesses, consumer ride sharing services, as well as legacy mobile

security, productivity and other related applications. LKM operates internationally, is based in

Beijing, and trades on the New York Stock Exchange (“NYSE”) under the ticker “LKM.” LKM

has operational offices in various countries including the US.

               2.      This derivative action is brought seeking equitable relief and damages to

remedy, inter alia, (1) the gross mismanagement of LKM including egregious self-dealing by the

Individual Defendants, (2) the misleading and false statements (including material omissions)

that the Individual Defendants issued (or failed to issue) to its Board, its shareholders and the

investing public, and (3) the now outright fraud and theft of LKM assets by the Individual

Defendants.

               3.      The Individual Defendants are currently stripping the Company of all its

value by transferring ownership of LKM’s most valuable assets including highly profitable

businesses to unknown third parties. Upon information and belief, the Individual Defendants are

going to allow the Company to be delisted from the NYSE and then will “go dark” on LKM’s

Board and shareholders, leaving LKM and its shareholders with no value or assets and slim

chance to recover the same. This action is an attempt to stop this from happening by, inter alia,

getting a receiver appointed to assume control of the Company in order to attempt to claw back

LKM’s rightful assets, prevent any further fraudulent transfers, and take legal action in China for
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the benefit of LKM regarding regaining and protecting their assets. This action also seeks

damages stemming from the Individual Defendants violations of both state and federal law.

                                            PARTIES

               4.      Plaintiff Wayne Baliga is an individual who is a U.S. citizen and resident

of the State of Illinois. Mr. Baliga is currently and has at all material times of this Action been a

shareholder of LKM.

               5.      Nominal Defendant LKM is a company incorporated in the Cayman

Islands with its principle executive offices located in Beijing, China. LKM has offices in the

United States, but upon information and belief those offices are on the brink of shutting down

due to the Individual Defendants cutting support and communication with the US offices. LKM

securities trade on the NYSE under the ticker “LKM.” LKM’s agent for service of process in the

United States is Law Debenture Corporate Services Inc., 400 Madison Avenue, 4th Floor, New

York, New York 10017.

               6.      Defendant Shi has been LKM’s Chairman of the Board since December

2014 and Chief Operating Officer since October 2005. Upon information and belief, Defendant

Shi is a Chinese citizen.

               7.      Defendant Lian is the current acting Chief Executive Officer of LKM.

Upon information and belief, Defendant Lian is a Chinese citizen.

               8.      Defendant Yu is a current Director of LKM with managerial and executive

influence and power, and who is involved in the highest-level operations of the Company along

with Defendant Shi and Lian. Upon information and belief, Defendant Yu is a Chinese citizen.
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                               JURISDICTION AND VENUE

               9.      This Court has subject-matter jurisdiction pursuant to 28 U.S.C. 1332

because the parties are citizens of different states and the amount of controversy exceeds

$75,000.00. Furthermore, this Court has subject matter jurisdiction because Mr. Baliga has

alleged violations of federal law.

               10.     This Court has jurisdiction over each Defendant named herein because

LKM is a corporation that conducts and transacts business in this District, trades on the NYSE,

and otherwise has sufficient minimum contacts with the U.S. and this District. The Individual

Defendants through LKM as well as individually also have sufficient minimum contacts with

this District so as to render the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice. Furthermore, this Court has jurisdiction over each

Defendant based on FRCP 4(k)(1) and CPLR 302, due to the Individual Defendants’ contacts

with this District via LKM and individually. Moreover, this Court has jurisdiction over all

Defendants pursuant to FRCP 4(k)(1)(c) and Section 27 of the Exchange Act (15 U.S.C § 78aa)

due to the Exchange Act violations alleged herein.

               11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(3)

because each of the Defendants are subject to personal jurisdiction of this District with respect to

this action.

               12.     In connection with the acts, conduct and other wrongs alleged herein,

Defendants either directly or indirectly used the means and instrumentalities of interstate

commerce, including but not limited to the United States mails, interstate telephone

communications, and the facilities of the national securities exchange.
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                               FACTUAL ALLEGATIONS

LKM Bac kgr ound

               13.     LKM is a multinational technology company that develops, licenses,

supports and sells software and services that focus on the smart car and smart ride business.

LKM’s portfolio of offerings includes enabling technology solutions and secure connected

carputers for the ecosystem of car businesses, consumer ride sharing services, as well as legacy

mobile security, productivity and other related applications.

               14.     LKM was a very successful business with a very significant balance sheet

of liquid and current assets when mismanagement and negligence by Defendant Shi and other

members of the Board led the Company to be in a position it finds itself today, which includes

noncompliance with the NYSE for failing to file current financials, including the annual audited

report on Form 20-F for the year 2017 among other listing requirements of which the Company

remains today in breach.

               15.     Due to various allegations of wrongdoing, there were independent

investigations and audits of the Company, which found several potential allegations of conflicts

of interest and self-dealings by Defendant Shi. It was then recommended in or around late 2017

that the directors of the board form a special committee and pursue an independent investigation

into the matters of dispute between the co-founder Henry Lin and the Chairman of the Board,

Defendant Shi. The Company’s auditors communicated that they would not be able to complete

their audit work for the year 2017 until such a time that the independent investigation was

completed. This occurred in August 2018 and was summarized in a press release and 6K by the

Company. It became clear based on the findings that Defendant Shi needed to step down from

his positions with the Company until the allegations could ultimately be resolved. This was also
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communicated by the Company’s audit committee chair at the time, who has since resigned, as

well as the Company’s independent auditor.

               16.     Unfortunately, Defendant Shi was unwilling to step down, and, instead,

began to direct a campaign of deceit, gross mismanagement, fraudulent self-dealing, and quite

literally theft of LKM’s most valuable assets. In their recent rampage to destroy the Company

and extract as much value for themselves as possible, the Individual Defendants have breached

their fiduciary duties to the Company, the Board, and its shareholders, and have committed

various violations of both state and federal law as outlined herein.

Breaches Due to Mismanage ment

               17.     By reason of their positions as officers and/or directors of the Company,

and because of their ability to control the business and corporate affairs of the Company, the

Individual Defendants owed LKM the fiduciary obligations of good faith, trust, loyalty, and due

care, and were required to use their utmost ability to control and manage the Company in a fair,

just, honest and equitable manner. The Individual Defendants were required to act in furtherance

of the best interests of the Company so as to benefit the Company and not in furtherance of their

personal interests or benefit.

               18.     The Individual Defendants, because of their positions of control and

authority as directors and/or officers of LKM, were able to, and did, directly and/or indirectly,

exercise control over the wrongful acts complained of herein.

               19.     The Individual Defendants have breached their fiduciary duties by failing

to take the necessary steps to prevent the Company’s involuntary for-cause delisting from the

NYSE. There are two separate bases for this delisting: (1) the Company has failed to file their

annual 2017 Form 20-F as a foreign issuer, and (2) the Company’s share price was less than
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$1.00 over a consecutive 30 trading-day period as of at least September 24, 2018. Upon

information and belief, the Company has not taken the necessary steps to conduct an audit and

prepare their 2017 Form 20-F and thus the Company will be imminently delisted from the

NYSE.

               20.    The Individual Defendants have breached their fiduciary duties by

directing and/or allowing LKM to abandon certain of its business lines, engaging in gross

mismanagement and wasting of corporate assets. The Defendants ceased communicating with

LKM’s subsidiary in Finland, which has resulted in corporate waste and the closing of the

Finland office on about November 23, 2018. LKM Finland required both operating capital and

direction from LKM as its largest shareholder to make corporate decisions. Defendants,

however, simply cut LKM Finland off from any support whatsoever, which brought LKM

Finland to a halt, forcing improper employee layoffs and ultimately the closure of a successful

subsidiary with receivables that exceed debt. Upon information and belief, LKM may now face

legal action in Finland due to the way LKM Finland was mishandled and how the business was

forced to shut down and lay off employees.

               21.    The Individual Defendants have breached their fiduciary duties by

directing and/or allowing LKM to abandon LKM’s office and operations in Dallas, Texas, which

is estimated to not have sufficient capital for more than a few weeks of operations. Similar to the

situation with LKM Finland, the Defendants ceased communications with its US offices, stopped

providing support and capital, and have opted to simply go dark on its US operations and

employees. Moreover, and similar to the situations with LKM Finland and the US operations,

the Defendants have also ceased operations and communications with several operating entities
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in China and even missed employee payroll and other regular operating support during this same

time frame.

               22.    In addition to the above breaches of fiduciary duties by the Individual

Defendants due to their gross mismanagement of the Company, the Individual Defendants have

further breached their fiduciary duties by wrongfully transferring ownership interests of certain

LKM assets to unknown third parties, without the consent or knowledge of the Board,

shareholders, or the public – these breaches are outlined below.

FL Mobile and Show self Self-Dealing, Misstatements, and Illegal Transfer

               23.    In or around March 2017, LKM entered into a certain transaction with

Tongfang Investment Fund Series SPC (“Tongfang”) whereby LKM would sell its FL Mobile

and Showself Live Social Video Business (“Showself”) to Tongfang for approximately $507

million dollars. Press releases announcing the sale to this effect were issued by LKM. The

agreement between LKM and Tongfang called for a small cash payment upfront, after which

LKM would transfer Showself to Tongfang, and Tongfang would pay the remaining balance due

before May 31, 2017. The agreement called for FL Mobile and Showself to be transferred back

to LKM if Tongfang failed to pay the remaining balance due.

               24.    Unfortunately, Tongfang failed to pay the balance remaining by the due

date of May 31, 2017. After that time, LKM issued multiple press releases every few months

explaining that it was extending the due date for Tongfang and that Tongfang was making final

preparations to pay the remaining balance due. Eventually on or around December 14, 2017,

LKM issued a press release stating that it was accepting a note from Tongfang in consideration

for the remaining balance due under their agreement. The note was due to be fully paid in one

year from the date of issuance. Tongfang has still not paid down the note.
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               25.     LKM’s statements in their press releases to the investing public regarding

the FL Mobile and Showself transaction were materially false and/or misleading because they

misinterpreted and failed to disclose the following adverse facts pertaining to the Company’s

business and operations which were known to Defendants or recklessly disregarded by them.

Specifically, Defendants made false and/or misleading statements and/or failed to disclose: (1)

the extent of the related party transactions involving the transaction between LKM and

Tongfang, especially the involvement of ZhongZhi Hi-Tech Investment (“ZZ”); (2) due to the

related parties involved in the Transaction, most notably ZZ who maintains a significant

convertible note with LKM, LKM agreed to consideration in the form of a note with a high

likelihood of default because of ZZ’s conflicts of interest with Defendant Shi; (3) Defendant

Shi’s interest in the transaction was not fully disclosed (Defendant Shi it was later discovered

was a significant owner of Tongfang who has a junior position to all other purchasing parties,

notably ZZ who also has a Director position on LKM’s Board and is the note holder); and (4) as

a result, Defendants’ statements about LKM’s business, operations and prospects were materially

false and misleading and/or lacked a reasonable basis at all relevant times.

               26.     In addition to all of the wrongful behavior outlined above regarding the FL

Mobile and Showself transaction, Defendants now have gone even further and appear to have

committed and outright theft of FL Mobile and Showself by brazenly transferring the ownership

interest of Showself to a completely unrelated third-party entity. Showself the business (aka Shi

Xiang Shi Guang in Chinese) was held by an entity called Shi Xiang Shi Dai. The ownership of

Showself/Shi Xiang Shi Guang was not to be transferred until the note was paid off by

Tongfang. Public Chinese records show, however, that Shi Xiang Shi Guang was transferred

from Shi Xiang Shi Dai to an unrelated third-party entity named Shi Xiang Hui Shi on November
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27, 2018. It appears now that Tongfang will default on the note, and instead of Showself being

transferred back to LKM as per the agreement, Defendants have stolen the valuable Showself

business from LKM and strictly for the benefit of themselves.

SyberOS and Ri deshare Illegal Transfer s

               27.     In addition to the fraudulent and illegal transfer of Showself, the

Defendants have also recently and brazenly stolen two more of LKM’s most valuable assets by

transferring two highly valuable assets belonging to LKM to a mysterious third-party. This

fraudulent transfer of ownership, like the Showself transfer, is evidenced unambiguously by

China’s public records.

               28.     LKM owns a subsidiary called NQ Beijing. NQ Beijing in turn owns

Qing Yun Wu Xian. Qing Yun Wu Xian is an investment entity that owns two highly profitable

businesses: SyberOS and Link Motion Rideshare (“Rideshare”).

               29.      Public Chinese records show that on October 20, 2018, Qing Yun Wu

Xian was 100% transferred from NQ Beijing to a mysterious third-party named Zhu Wei.

               30.     Upon discovering that Qing Yun Wu Xian was transferred to an unknown

third-party, the shareholder group LKMForward wrote an email to LKM’s Board requesting an

explanation. At least two Board members replied to the email indicating that they were unaware

that this transfer had taken place.

               31.     Thus, the Individual Defendants did not gain the necessary approval of the

Board for the transfer of Qing Yun Wu Xian, and furthermore, upon information and belief,

failed to disclose these material transactions to anyone at the Company or its shareholders, and

now two of the Company’s most valuable assets, SyberOS and Rideshare, are under the

ownership of an unknown third-party.
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Mr. Baliga’s Purchases of LKM

               32.    Mr. Baliga purchased securities of LKM starting in 2014, and continued to

purchase LKM all the way through mid-2018, before realizing that Defendant Shi had been

perpetrating a massive fraud against the US (and even the Chinese) investors, and that the

Company was going to imminently be delisted from the NYSE, leaving its shareholders with no

value and little chance of recovery of the underlying assets and/or businesses. A screenshot of

Mr. Baliga’s purchases of LKM is as follows:
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Derivative Allegations and De mands to the Boar d

               33.     Mr. Baliga brings this action derivatively in the right and for the benefit of

LKM to redress the wrongful and illegal conduct outlined herein by the Individual Defendants.

               34.     Mr. Baliga will adequately represent the interests of LKM and its

shareholders in enforcing and prosecuting its rights.

               35.     LKM is named as a nominal defendant in this action solely in a derivative

capacity. This is not a collusive attempt to confer jurisdiction on this Court that it would not

otherwise have. Prosecution of this action, independent of the Individual Defendants, is in the

best interests of LKM and its shareholders.

               36.     The group of LKMForward shareholders, including Mr. Baliga, have, on

at least three different occasions over the last two months, made demands via formal letters to

the Board to remedy the current situation as outlined above and hold the Individual Defendants

responsible for their behavior. Such demands have not been successful. The Board has either

refused or been unable to stop the Individual Defendants from looting the Company. The Board

similarly has not agreed to take legal action against the Company or the Individual Defendants.

                                FIRST CAUSE OF ACTION
                                (Appointment of a Receiver )
                             (As to Nominal Defendant LKM )

               37.     Mr. Baliga repeats and realleges each of the foregoing allegations as if

more fully set forth at length herein.

               38.     Due to the wrongful conduct herein, which includes, inter alia, the theft of

assets, abandonment of business lines and operations, and failure to properly manage the

Company in many material ways, an independent receiver is necessary to (a) prevent the further

dissipation of the Company and its assets; (b) take the necessary steps in China to claw back the
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assets that were wrongfully transferred out of the ownership of the Company; and (c) manage the

Company’s operations, prevent the Company from being delisted from the NYSE, and restore

value to the Company and its shareholders.

                               SECOND CAUSE OF ACTION
                                 (Breach of Fiduciary Dut ies)
                              (As to the Indivi dual Defendants )

               39.       Mr. Baliga repeats and realleges each of the foregoing allegations as if

more fully set forth at length herein.

               40.       As outlined herein, the Individual Defendants, due to their positions and

control over LKM owed and continue to owe LKM, the Board, and the shareholders certain

fiduciary obligations.

               41.       The Individual Defendants breached their fiduciary obligations in that the

Individual Defendants:

                 a.   failed to disseminate accurate and truthful information to its Board,

                      shareholders, and to the investing public;

                 b.   failed to get the required Board approval for certain material actions that the

                      Individual Defendants took on behalf of LKM (while at the same time

                      ignoring the recommendations of LKM’s legal and financial professionals;

                 c.   failed to prudently manage the Company in a way that put the best interests

                      of the Company first, including by (i) taking the necessary regulatory steps

                      in the US to ensure the Company stays listed on the NYSE, and (ii)

                      abandoning certain subsidiaries and international offices of the Company

                      which has resulted in corporate waste and potential legal liability of LKM;
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                 d.   structured the Showself transaction in a way that benefited the Individual

                      Defendants to the detriment of the Company;

                 e.   wrongfully transferred ownership of Showself to an unknown third-party

                      without the consent or knowledge of the Board or the shareholders;

                 f.   wrongfully transferred ownership of SyberOS and Rideshare to an unknown

                      third-party without the consent or knowledge of the Board of the

                      shareholders.

               42.     Due to the Individual Defendants’ breaches, LKM has been substantially

harmed.

                                THIRD CAUSE OF ACTION
                                      (Unjust Enrichment )
                            (As to the Indivi dual Defendants)

               43.     Mr. Baliga repeats and realleges each of the foregoing allegations as if

more fully set forth at length herein.

               44.     By their wrongful acts and omissions, the Individual Defendants have

been and continue to be unjustly enriched at the expense of and to the detriment of LKM, and the

circumstances require relief in equity and good conscious.

               45.     The Individual Defendants have gained the benefit of ownership of certain

assets belonging to LKM at the expense of LKM losing said assets.

               46.     Because the Individual Defendants have gained this benefit at the expense

of LKM, equity and good conscious requires that LKM be afforded restitution.
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                              FOURTH CAUSE OF ACTION
        (Violation of Section 10(b) of The Exchange Act and Rule 10b -5)
                              (As to All Defendants)

                 47.   Mr. Baliga repeats and realleges each of the foregoing allegations as if

more fully set forth at length herein.

                 48.   The Company and the Individual Defendants, individually and in concert,

directly or indirectly, disseminated or approved the various false statements and omissions

outlined herein, which they knew to be false or deliberately disregarded in order to make the

statements made, in light of the circumstances under which they were made, not misleading.

                 49.   The Individual Defendants failed to disclose to the Board, its shareholders,

or the investing public the various information concerning their wrongful and fraudulent conduct

as outlined herein, causing the Company’s securities to be artificially inflated and then drop by

nearly 50% upon discovery of the misstatements and omissions.

                 50.   The Individual Defendants participated in a scheme to defraud the

Company and its shareholders by wrongfully transferring assets out of the Company to unknown

third-parties.

                                FIFTH CAUSE OF ACTION
                   (Violation of Section 20(a) of The Exchange Act )
                                 (As to All Defendants)

                 51.   Mr. Baliga repeats and realleges each of the foregoing allegations as if

more fully set forth at length herein.

                 52.   The Individual Defendants participated in the operation and management

of the Company, and conducted and participated, directly and indirectly, in the conduct of the

Company’s business affairs. Because of their senior positions, the Individual Defendants knew

the adverse non-public information regarding the Company’s business practices.
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               53.      As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to the

Company’s financial condition and results of operations, and to correct promptly any public

statements issued by the Company which had become materially false or misleading.

               54.      Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which the Company disseminated in the marketplace.

               55.      The Individual Defendants did cause the Company to disseminate false

information and further failed to disclose the wrongful and fraudulent scheme by the Individual

Defendants in transferring assets and value out of the Company.

                                      PRAYER FOR RELIEF

               WHEREFORE, Plaintiff Wayne Baliga demands that judgment be entered in

favor of LKM as follows:

   (a) on the first cause of action (appointing a receiver), judgment against Defendants

       LKM, for the following relief:

             i.      appointing an independent receiver to assume full control over the Company,

                     its assets, and employees;

             ii.     for attorneys’ fees and costs; and

            iii.     for such other and further as this Court may deem equitable and just.

   (b) on the second cause of action (breach of fiduciary duties), judgment against

       Defendants Vincent Wenyong Shi, Jia Lian, and Xiao Yu, jointly and severally, for the

       following relief:

             i.      compensatory damages in an amount to be determined at trial;
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         ii.   consequential damages in an amount to be determined at trial;

        iii.   punitive damages in an amount to be determined at trial;

        iv.    attorneys’ fees and costs;

         v.    such other and further relief as this Court may deem equitable and just.

(c) on the third cause of action (unjust enrichment) judgment against Defendants Vincent

   Wenyong Shi, Jia Lian, and Xiao Yu, jointly and severally, for the following relief:

         i.    compensatory damages in an amount to be determined at trial;

         ii.   consequential damages in an amount to be determined at trial;

        iii.   attorneys’ fees and costs;

        iv.    such other and further relief as this Court may deem equitable and just.

(d) on the fourth course of action (Violation of Section 10(b) of The Exchange Act and

   Rule 10b-5), judgment against Defendants Vincent Wenyong Shi, Jia Lian, and Xiao Yu,

   jointly and severally, for the following relief:

         i.    compensatory damages in an amount to be determined at trial;

         ii.   consequential damages in an amount to be determined at trial;

        iii.   attorneys’ fees and costs;

        iv.    such other and further relief as this Court may deem equitable and just.

(e) on the fifth cause of action (Violation of Section 20(a) of The Exchange Act),

   judgment against Defendants Vincent Wenyong Shi, Jia Lian, and Xiao Yu, jointly and

   severally, for the following relief:

         i.    compensatory damages in an amount to be determined at trial;

         ii.   consequential damages in an amount to be determined at trial;

        iii.   attorneys’ fees and costs;
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           iv.   such other and further relief as this Court may deem equitable and just.

                                     JURY DEMAND

      Plaintiff Wayne Baliga demands a trial by jury on all issues in this action.



Dated: June 20, 2019
       New York, New York

                                                            THE SEIDEN GROUP


                                                            ____________
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